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 8
                                      UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
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11    JOSE PIMENTEL,                                 Case No. 1:21-cv-01826-ADA-CDB

12                       Plaintiff,                  ORDER DISCHARGING THE COURT’S
                                                     OCTOBER 13, 2023, ORDER TO SHOW CAUSE
13           v.
                                                     (Docs. 41, 44)
14    J.B. HUNT SERVICES, INC., et al.,
15                       Defendants.
16

17          On October 13, 2023, the Court issued an order for Plaintiff Jose Pimentel (“Plaintiff”) to

18   show cause in writing why sanctions, including monetary sanctions, discovery sanctions or

19   dismissal, should not be imposed for his failure to comply with a court order (this action’s

20   Scheduling Order) and his discovery obligations. See (Docs. 14, 44). The Court also ordered

21   Plaintiff to show cause in writing why Defendant’s request for reimbursement of costs, fees and

22   attorney’s fees incurred preparing for and attending the suspended depositions (see Doc. 38) shall

23   not be granted. (Doc. 44). That same day, Defendant J.B. Hunt Transport, Inc. (“Defendant”) filed

24   a supplement to its earlier informal discovery dispute letter brief requesting reimbursement of court

25   reporter fees and attorney fees in the amount of $3,786.95. (Doc. 45).

26          On October 20, 2023, Counsel for Plaintiff filed a declaration in response to the Court’s

27   order to show cause. (Doc. 46). Counsel for Plaintiff represents he delivered a cashier’s check to

28   Defendant’s counsel in the amount of $3,786.95. Id. at 1. Counsel for Plaintiff also attested he has

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 1   produced all documents which he and Plaintiff have in their possession. Id. at 2.

 2          Accordingly, in light of Counsel for Plaintiff’s declaration, and good cause appearing, it is

 3   HEREBY ORDERED, the Court’s October 13, 2023, order to show cause (Doc. 44) is discharged.

 4   IT IS SO ORDERED.
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        Dated:     October 24, 2023                          ___________________                   _
 6                                                     UNITED STATES MAGISTRATE JUDGE

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